
PER CURIAM.
Affirmed. See Wright v. State, 864 So.2d 1153 (Fla. 2d DCA 2003) (en banc). As this court did in Wright, we certify direct conflict with Kirtsey v. State, 855 So.2d 177 (Fla. 1st DCA 2003); Hernandez v. State, 825 So.2d 513 (Fla. 4th DCA 2002); Bingham v. State, 813 So.2d 1021 (Fla. 1st DCA 2002); Thames v. State, 769 So.2d 448 (Fla. 1st DCA 2000); Hampton v. State, 764 So.2d 829 (Fla. 1st DCA 2000); and Macias v. State, 614 So.2d 1216 (Fla. 3d DCA 1993).
Affirmed; conflict certified.
NORTHCUTT, COVINGTON, and WALLACE, JJ., concur.
